   Case 2:18-cv-01510-ES        Document 2     Filed 02/02/18    Page 1 of 3 PageID: 177



Not for Publication

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


HARRY PANGEMANAN, MARIYANA
SUNARTO, ROBY SANGER,
GUNAWAN ONGKOWIJOYO LIEM,
individually and on behalf of all others
similarly situated,

              Petitioners/Plaintiffs,            Civil Action No. 18-1510 (ES)

                      v.                   :     ORDER

JOHN TSOUKARIS, Newark Field
Office Director for Enforcement and
Removal Operations, U.S. Immigration
and Customs Enforcement, MATTHEW
ALBENCE, Executive Associate Director
For Enforcement and Removal
Operations, U.S. Immigration and
Customs Enforcement, THOMAS D.
HOMAN, Acting Director
of U.S. Immigration and Customs
Enforcement, KIRSTJEN M. NIELSEN,
Secretary of the U.S. Department of
Homeland Security, JEFFERSON B.
SESSIONS, Attorney General of the
United States, CHARLES L. GREEN,
Warden, Essex County Correctional
Facility and ORLANDO RODRIGUEZ,
Warden, Elizabeth Detention Center,

              Respondents/Defendants.


SALAS, DISTRICT JUDGE

       This matter having come before the Court upon Petitioners/Plaintiffs’ Motion for a

Temporary Restraining Order and Stay of Removal; and the Court having carefully reviewed all

submissions made in support of the Motion; and Petitioners/Plaintiffs and Respondents/
   Case 2:18-cv-01510-ES           Document 2           Filed 02/02/18   Page 2 of 3 PageID: 178



Defendants having appeared before this Court on February 2, 2018; and the Court having

considered the parties’ arguments in open court on February 2, 2018; and the Court finding that

an order is necessary to maintain the status quo until the Court determines whether it has

jurisdiction over this matter, see United States i’. United Mine Workers ofAni,, 330 U.S. 258, 290

(1947); and for the reasons stated on the record and good cause having been shown,

        IT IS on this 2nd day of February 2018,

        ORDERED        that   Respondents’Defendants are hereby temporarily         enjoined   and

prohibited from removing or causing the removal—or transferring or causing the transfer—from

the United States of all named Petitioners•Plaintiffs in this action who have final orders of

removal, who have been, or will be. arrested, detained or removed by ICE; and it is further

        ORDERED that any such removals or transfers now pending are hereby STAYED and

shall NOT proceed until further Order of this Court; and it is further

        ORDERED that this Order shall apply to the removal of Petitioners/Plaintiffs and all

members of the proposed class, defined as: All Indonesian nationals within the jurisdiction of the

Newark ICE Field Office, with administratively final orders of removal predating 2009 and were

subject to an order of supervision; and it is further

        ORDERED that bifurcation is necessary’ such that issues ofjudsdiction are determined

first before proceeding to the merits: and it is further

        ORDERED that Petitioners/Plaintiffs shall file an opening brief concerning jurisdiction

by February 16, 2018; and it is further

        ORDERED that Respondents/Defendants shall file a responsive brief concerning

jurisdiction by March 2, 2018; and it is further




                                                   -7-
   Case 2:18-cv-01510-ES          Document 2       Filed 02/02/18   Page 3 of 3 PageID: 179



       ORDERED that Petitioners/Plaintiffs shall file a reply brief concerning jurisdiction by

March 9,2018; and it is further

       ORDERED that the Court will hold an in-person status conference, if necessary, within

7 days of issuing its Order concerning jurisdiction.

                                                            s/ Esther Salas
                                                            Esther Salas, U.S.D.J.




                                                -3-
